  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 1 of 15




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                      MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                 SECTION “H” (5)

THIS DOCUMENT RELATES TO
Deborah Johnson
Case No. 16-15607

      DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS
        IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
               ON STATUTE OF LIMITATIONS GROUNDS
               AGAINST PLAINTIFF DEBORAH JOHNSON

       Defendant sanofi-aventis U.S. LLC (“Sanofi”) hereby submits this Statement of

Undisputed Material Facts in Support of its Motion for Summary Judgment, pursuant to

Local Rule 56.1:

                                      Background

       1.     Plaintiff Deborah Johnson was born on March 26, 1957, in New Orleans. See

Deborah Johnson Fifth Amended Plaintiff Fact Sheet (“PFS”) § II.15.

       2.     Ms. Durden is an African American woman. See PFS § I.20.

       3.     She married in 1976, but immediately separated. See PFS § II.3.

       4.     She had two children. See PFS § IV.7.

       5.     Ms. Johnson at times worked as a Certified Nursing Assistant (“CNA”), but

was unemployed at the time of her diagnosis with cancer in 2010.         See Dep. Tr. at

154:3154:15; 203:16204:4 (Nov. 30, 2017).

       6.     Ms. Johnson filed suit against Sanofi on October 14, 2016. See PFS § I.4.

       7.     She alleges injuries resulting from her use of Taxotere in 2010. See First

Amended Master Long Form Complaint (Rec. Doc. 689) (“AMC”) at ¶ 8; Amended Short

                                           1
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 2 of 15




Form Complaint (No. 2:16-cv-15607, Rec. Doc. 8) (“SFC”) at ¶ 10.

       8.       The Food and Drug Administration (FDA) first approved Taxotere in 1996.

AMC at ¶ 123.

       9.       Plaintiffs in this MDL completed treatment with Taxotere as far back as 1998.

See, e.g., Patricia Hollis Complaint ¶ 305 (treatment September 1998); Carol Ford Complaint

¶ 95 (same); Carolyn Purdue Complaint ¶ 55 (1999); Annie Marbury Complaint ¶ 95 (same).

       10.      Ms. Johnson alleges that she suffered permanent, irreversible, disfiguring hair

loss beginning with her Taxotere treatment in 2010. See SFC at ¶ 12; PFS §§ VI.5, VII.3.

       11.      Per Ms. Johnson, she suffered this injury continuously from 2010 to the

present. See PFS § VI.5.

       12.      Per Ms. Johnson, she did not seek treatment for this injury from 2010 to the

present. See PFS § VI.6.

       13.      From 2011 to present, Ms. Johnson continuously believed that her hair would

not grow back. See Dep. Tr. 313:9313:21.

       14.      Ms. Johnson has never discussed her hair loss with any healthcare provider.

See PFS § VII.5.

       15.      Ms. Johnson has never undergone a biopsy, blood test, or hormone testing to

evaluate her hair loss or its cause. See PFS § VII.6, “Hair Loss History.”

       16.      From 2011 to present, she continuously believed that chemotherapy had

caused her hair loss. See Dep. Tr. 314:5314:8.

       17.      Ms. Johnson did not file a report with the FDA about her alleged injury. See

PFS § VI.17.

       18.      She had no communications with Defendants or their representatives. See

PFS § VI.15.

                                               2
      Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 3 of 15




           19.      In April 2011, “She inquired about receiving disability secondary to her

neuropathy.” Her medical oncologists “. . .told her that if this is persistent, then we will assist

her with that in whatever way that we can, although [they were] hesitant to do so now as she

still seem[s] to be able to maintain her activities of daily living.” INFUSION PHARMACY

University Medical Center New Orleans (“UMCNO”) 00165–67.1

           20.      Ms. Johnson separately filed for federal disability based on her pain following

breast cancer surgery, and has been on disability ever since. See PFS § II.12.

           21.      Disabled, Ms. Johnson is not employed and is not making a claim for lost

wages of lost earning capacity. See PFS § II.5, 7.

           22.      Ms. Johnson does not claim that she incurred any medical expenses for the

alleged injury that she claims was caused by Taxotere. See PFS § VI.20.

           23.      Ms. Johnson claims that her use of Taxotere caused or aggravated a

psychiatric or psychological condition, but she sought no treatment for the same. See PFS §

V.18–19.

           24.      Where noted in 2011, 2012, and thereafter, Ms. Johnson’s stress and

depression is consistently attributed to her family situation and left shoulder or arm pain.

See, e.g., UMCNO 00244–46; Tulane Cancer Center Clinic 22–25.

           25.      The only monetary damages alleged by Ms. Johnson are for wigs ($200.00)

and scarves ($100.00). See PFS § VI.26.

           26.      Today, Ms. Johnson is 60 years old. See PFS § IV.1.

           27.      She is cancer free. See PFS § VI.2.

           28.      At her deposition, she testified that she could not rule out that her

chemotherapy regimen played a significant role in the fact that she is still alive today. See


1
    Ms. Johnson’s medical records referenced herein are attached as Exhibit G.
                                                       3
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 4 of 15




Dep. Tr. 314:16315:5.

         29.    She could not say that she would not take Taxotere again, despite the alleged

risk of permanent hair loss. See Dep. Tr. 314:16315:5.

         30.    She stated that if Dr. Brian Lewis, her prescribing oncologist, told her that she

needed to take the same treatment regimen again, knowing that she would lose her hair and

that it might not grow back, she would still take the medicine again.             See Dep. Tr.

314:16315:5.

         31.    She agreed that Taxotere and her chemotherapy regimen is likely a reason she

is alive and was able to be present at the deposition. See Dep. Tr. 314:16315:5.

                            Discovering She Had Breast Cancer

         32.    Ms. Johnson’s family has a long history of cancer and chemotherapy. Her

older sister was diagnosed with thyroid cancer in the early 1970s, went through

chemotherapy, and lost her hair as a result. See Dep. Tr. 124:12128:20.

         33.    Her younger sister was diagnosed with bone cancer in 2005, went through

chemotherapy, and lost her hair as a result. See Dep. Tr. 142:20144:24.

         34.    Her father was diagnosed with full-body cancer in 2006 and went through

chemotherapy while Ms. Johnson was out of state. See Dep. Tr. 107:16107:25.

         35.    Ms. Johnson’s sister was diagnosed with breast cancer at age 49. See PFS §

IV.13.

         36.    Ms. Johnson’s maternal grandmother was diagnosed with breast cancer at age

47. See PFS § IV.13; Dep. Tr. 145:7146:1.

         37.    In the four years immediately preceding her diagnosis of breast cancer, her

father and sister had died of cancer. See Dep. Tr. 143:15143:21; 144:1144:6. Her maternal

grandmother also died of cancer. See Dep. Tr. 145:7146:1.
                                               4
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 5 of 15




       38.     Ms. Johnson’s past medical history included menorrhagia with uterine

fibroids, hypertension, obesity, and right shoulder injury with decreased range of motion.

See UMCNO 00019–22, 00024–26.

       39.     Her surgical history included bilateral tubal ligation, tonsillectomy, and left

pneumothorax with chest tube placement. See UMCNO 00046–49, 00019–22; Sanjeeva

Reddy 4445.

       40.     Deborah Johnson was 53 years old in 2010. See PFS § IV.9.

       41.     After her father and sisters passed, Ms. Johnson grew very concerned about

getting cancer and was afraid she would be next. See Dep. Tr. 210:10210:25.

       42.     She became diligent about checking for signs of breast cancer. See Dep. Tr.

210:3211:4.

       43.     In the spring of 2010, she discovered a lump in her breast during a routine

self-examination. See Dep. Tr. 209:14210:13.

       44.     She immediately believed the lump was cancerous, and went to the doctor for

examination and diagnosis. See Dep. Tr. 211:5211:10.

       45.     By May 12, 2010, Ms. Johnson had felt a breast lump for a couple of weeks.

On that day, she underwent biopsy of her left breast. See UMCNO 00286–287.

       46.     Her pathology showed left breast invasive ductal carcinoma, diagnosed as T2,

N1, M0, HER2/neu negative, ER positive, and PR negative. See UMCNO 00257–259.

       47.     Ms. Johnson underwent left modified radical mastectomy with MediPort

placement on June 25, 2010 by Dr. Jane Wey. See UMCNO 00028–32.

       48.     Ms. Johnson developed complications following surgery.          See UMCNO

00051–53.

       49.     On July 19, 2010, Ms. Johnson’s medical oncologists, Drs. Brian Lewis and

                                              5
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 6 of 15




Marianne Barnhill, recommended chemotherapy after evaluation for radiation. See UMCNO

00046–49.

       50.     Her radiation oncologist, Dr. Stephen Kraus, saw Deborah Johnson for

consultation on July 22, 2010 and he recommended post-chemotherapy radiation. See Tulane

Cancer Center Clinic 42–44.

       51.     Ms. Johnson was treated with Taxotere every three weeks for six cycles from

August 12, 2010 to December 30, 2010. See SFC at ¶ 10; PFS § V.12.

                                   How She Lost Her Hair

       52.     Once a month from 2004 to 2010, Ms. Johnson had her hair braided. See PFS

§ VII.13.

       53.     Ms. Johnson’s hair loss began during chemotherapy treatment, after her

treatment with Taxotere. See PFS § VII.23.

       54.     Ms. Johnson testified that all of her hair fell out the very first night of her very

first chemotherapy treatment. See Dep. Tr. 298:24292:20.

       55.     She woke up the next morning to discover that her hair was all over her pillow,

and by the end of the day her head was “slick” and “bald.” See Dep. Tr. 327:21329:4.

       56.     She stated that it remained this way throughout her chemotherapy treatment.

See Dep. Tr. 299:9300:1; 327:21329:4.

       57.     At the time she verified her PFS in this case, she had had alopecia or

incomplete hair regrowth since August 2010. See PFS § VII.23.

       58.     Describing how her hair care regimen changed after cancer, she wrote “I used

to have a lot of hair to care for. Now I don’t.” PFS § VII.15.

       59.     Ms. Johnson began wearing a wig to conceal her hair loss in August 2010.

See PFS § VII.2526.

                                                6
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 7 of 15




                     When She Knew Her Hair Had Not Grown Back

       60.     Ms. Johnson expected her hair to start re-growing when she began radiation

in early 2011 (after completing chemotherapy in November 2010), but it did not. See Dep.

Tr. 273:19274:5; 279:5280:3; 307:22309:11.

       61.     She said that by the end of her radiation therapy in February 2011, she knew

that her hair was never going to grow back—and she was just “one of the unlucky ones.” See

Dep. Tr. 278:2278:10; 307:22308:18.

       62.     In particular, when her physical therapy ended, and she was once again

mobile, she admitted that she still didn’t seek treatment for the hair loss—and instead

repeated that she was just “one of the ones that was unlucky, and it just wasn’t coming back.”

See Dep. Tr. 313:1313:21.

       63.     She also testified that there was nothing she could do about her hair loss and

she knew it would not grow back. See Dep. Tr. 313:9313:21.

                   What She Did and Did Not Do to Seek Medical Care

       64.     Deborah Johnson had years-long breaks in medical oncology and radiation

oncology follow up. See Tulane Cancer Center Clinic 13–15.

       65.     She did not see a medical oncologist from December 2012 until November

2016. See Tulane Cancer Center Clinic 13–15.

       66.     She saw Dr. Kraus in March 2013, but did not see another radiation oncologist

until November 2016. See Tulane Cancer Center Clinic 13–15.

       67.     In March 2013, her radiation oncologist observed “Has no [showed] several

followups. Does understand how central these followups are and assures me that she will be

compliant from now on.” See Tulane Cancer Center Clinic 18–21.

       68.     Intervening medical records describe poor diet, weight gain, diagnosis with

                                              7
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 8 of 15




type II diabetes in September 2013, and chronic opioid use from May 2012 until March 2016.

See, e.g., JenCare Senior Medical Center 15–16, 24–25, 86–87, 89–90; Tulane Cancer Center

Clinic 22–25.

       69.      Ms. Johnson self-reports that she went in for her annual mammogram in 2010,

2011, 2012, 2013, 2014, 2015, and 2016. See PFS § IV.12.

       70.      Ms. Johnson self-reports that she went in for annual gynecological

examinations in 2010, 2011, 2013, and 2015. She skipped her annual examination in 2012

and 2014. See PFS §IV.11.

       71.      In the intervening years, Ms. Johnson also saw healthcare providers for

various other skin and foot care issues. See, e.g., JenCare Senior Medical Center 44, 63, 73.

       72.      Ms. Johnson experienced skin issues on her chest wall during radiation

treatment from January 2011 to February 2011. See Tulane Cancer Center Clinic 31–35.

       73.      The hyperpigmentation of her chest wall was noted by her primary care

physician in March 2013. See JenCare Senior Medical Center 11–13.

       74.      In July 2015, her primary care physician noticed keratitis pilaris on her arms

and prescribed her Lac-Hydrin 12%. See JenCare Senior Medical Center 63, 73.

       75.      From March 2011 to May 2017, Ms. Johnson had notable fungal foot

infections or tinea pedis, treated with various medications. See UMCNO 00202–203,

JenCare Senior Medical Center 117–119.

       76.      In July 2014, a podiatrist saw Ms. Johnson for fungal toenail infection. See

JenCare Senior Medical Center 44.

       77.      In October 2014, the podiatrist treated her for xerosis and prescribed Lac-

Hydrin 12% twice daily. See JenCare Senior Medical Center 50.

       78.      Ms. Johnson takes four prescription medications daily including Norvasec, 10

                                              8
     Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 9 of 15




mg; Hydrochlorothiazide, 12.5 mg; Lisinopril, 20 mg; and Gabapentin. See PFS §IV.21;

Dep. Tr. 9:149:25; JenCare Senior Medical Center 178–183.

           79.      For these issues and her disability-related pain, she frequently seeks medical

care. See, e.g., Tulane Cancer Center Clinic 7–9; JenCare Senior Medical Center 117–119;

JenCare Senior Medical Center 120–122; JenCare Senior Medical Center 176–177.

           80.      Ms. Johnson has never sought medical care for the injury she alleges in this

lawsuit. See PFS § VI.6; Dep. Tr. 313:1313:21.

       Ms. Johnson Knew Taxotere Carried the Risk of Hair Loss Before Her Treatment

           81.      Ms. Johnson was prescribed Taxotere by Dr. Brian Lewis in August 2010.

See PFS § V.13.

           82.      Prior to receiving treatment with Taxotere in 2010, Ms. Johnson was warned

that hair loss was a side effect associated with Taxotere. See Dep. Tr. 304:19305:21.

           83.      The Taxotere product label in effect when Ms. Johnson was prescribed

Taxotere stated that hair loss is associated with Taxotere administration. See AMC at ¶ 134;

Sanofi_000623.2

           84.      The Taxotere product label in effect when Ms. Johnson was prescribed

Taxotere stated that hair loss is one of the most common side effects of Taxotere. See AMC

at ¶ 134; Sanofi_000626.

           85.      The Taxotere product label in effect when Ms. Johnson was prescribed

Taxotere stated that alopecia is one of the most common adverse reactions across all Taxotere

indications. See Sanofi_000566; Sanofi_000580.

           86.      On August 2, 2010, Ms. Johnson received Micromedex patient information

handouts for each of the chemotherapy drugs that she was prescribed, identifying hair loss as


2
    Sanofi documents referenced herein are attached as Exhibit H.
                                                       9
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 10 of 15




a risk of treatment. See UMCNO 00036; Dep. Tr. 254:16254:18.

       87.      On August 9, 2010, Dr. Brian Lewis discussed the risk of hair loss associated

with chemotherapy treatment with Ms. Johnson.           See UMCNO 00071–72; Dep. Tr.

266:5267:17.

       88.      Ms. Johnson had personally observed her sisters, Rosemary and Imelda, lose

their hair during chemotherapy treatment, and she understood that the hair loss was a result

of chemotherapy treatment. See Dep. Tr. 128:3129:3; 133:3133:16.

       89.      Ms. Johnson was subjectively aware that hair loss was a risk of chemotherapy

prior to her treatment. See Dep. Tr. 255:25259:3.

      Ms. Johnson Knew That Taxotere Caused Her Hair Loss When It Happened

       90.      Ms. Johnson received six cycles of Taxotere in combination with Adriamycin

and Cyclophosphamide from August 12 to December 30, 2010. See PFS § V.12.

       91.      Ms. Johnson first experienced hair loss during her chemotherapy treatment,

specifically after her treatment with Taxotere. See PFS § VII.2–3.

       92.      All of Ms. Johnson’s hair fell out after her first cycle of treatment with

Taxotere. See Dep. Tr. 292:15292:18; 298:18298:24.

       93.      Ms. Johnson was aware that her hair fell out on the day it fell out. See Dep.

Tr. 292:7292:20.

       94.      Ms. Johnson was aware that her hair loss was a result of her chemotherapy

treatment. See Dep. Tr. 298:18298:21.

       95.      On November 4, Ms. Johnson was treated by nurse Debbie Jarrett, who

recorded that Ms. Johnson had “chronic hair loss secondary to chemo.” See UMCNO 00113–

14.

       96.      On November 30, Ms. Johnson signed a written consent form listing risks of
                                             10
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 11 of 15




her chemotherapy treatment, including the risk of hair loss. See UMCNO 00503–05.

       97.     Ms. Johnson understood that the risks she consented to, including the risk of

hair loss, were present from the time of her treatment to two, three, four, five, six, seven years

down the line. See Dep. Tr. 268:19269:8.

       98.     After her hair fell out, Ms. Johnson continued to receive chemotherapy

treatments, despite knowing that her hair loss was the result of her chemotherapy treatment.

See Dep. Tr. 299:9301:1.

       99.     Ms. Johnson “just figured [she] would still take the risk” of her hair not

growing back. See Dep. Tr. 299:18301:1.

 In 2011, Ms. Johnson Believed Her Hair Loss Was Permanent and Caused By Chemo

       100.    Ms. Johnson alleges that her hair never returned after treatment with Taxotere.

AMC at ¶ 6.

       101.    Ms. Johnson alleges that she has suffered permanent/persistent hair loss on

her scalp, diffuse thinning of her hair on her total scalp, significant thinning of the hair on

her head, a large bald area in the hair on her head, multiple bald spots in the hair on her head,

permanent/persistent loss of her genital hair, permanent/persistent loss of her eyelashes, and

change in the texture, thickness, or color of her hair after Taxotere treatment, from 2010 to

the present. PFS § VI.5, § VII.23.

       102.    Ms. Johnson has believed that her hair loss resulted from chemotherapy from

2010 to the present. See Dep. Tr. 314:5314:8.

       103.    After completing her chemotherapy treatment, Ms. Johnson underwent

radiation therapy from January 5, 2011 to February 24, 2011. See Tulane Cancer Center

Clinic 30.

       104.    During her radiation therapy, Ms. Johnson observed another woman who had

                                               11
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 12 of 15




undergone chemotherapy treatment, and whose hair was growing back. See Dep. Tr. at

275:1277:3.

       105.    Ms. Johnson had previously observed her sisters’ hair grow back after

chemotherapy. See Dep. Tr. 128:15128:20; 194:22195:17.

       106.    When Ms. Johnson’s hair did not grow back after her chemotherapy treatment,

she became very concerned. See Dep. Tr. 307:13307:18.

       107.    By the time of her last radiation treatment in February 2011, Ms. Johnson had

concluded that her hair was not going to grow back. See Dep. Tr. 307:13309:11.

       108.    Ms. Johnson did not think anything other than chemotherapy had caused her

hair not to grow back. See Dep. Tr. 307:13307:21.

       109.    By February 24, 2011, Ms. Johnson was on notice that she had suffered

persisting or permanent hair loss, and that her persisting or permanent hair loss was caused

by Taxotere. See Dep. Tr. 307:13309:11.

       110.    Ms. Johnson defines permanent hair loss as an absence of or incomplete hair

regrowth six months after completion of chemotherapy. See AMC at ¶ 180.

       111.    On June 30, 2011, six months had passed since Ms. Johnson had completed

chemotherapy. See SFC at ¶ 10.

       112.    By June 30, 2011, Ms. Johnson was on notice that she had suffered persisting

or permanent hair loss, and that her persisting or permanent hair loss was caused by Taxotere.

See SFC at ¶ 10; Dep. Tr. 307:13309:11; 313:9313:21.

       113.    From 2011 to present, Ms. Johnson has continued to believe that her hair

would not grow back. See Dep. Tr. 313:9313:21.

       114.    From 2011 to present, Ms. Johnson has continued to believe that her hair loss

was caused by chemotherapy. See Dep. Tr. 314:5314:8.
                                             12
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 13 of 15




         115.   Ms. Johnson alleges that her hair loss acts as a permanent reminder of her

cancer and treatment. See AMC at ¶ 6.

Ms. Johnson Did Nothing to Investigate Her Potential Claim Then or Before Filing Suit

         116.   In December 2015, Sanofi added a statement to the “Post-Marketing

Experiences” section of the label: “Cases of permanent alopecia have been reported.” AMC

¶ 138.

         117.   Ms. Johnson filed the instant lawsuit on October 14, 2016. See PFS § I.4.

         118.   Ms. Johnson alleges that her hair loss symbolizes cancer identity and

treatment for herself and others. See AMC at ¶ 215.

         119.   Ms. Johnson did not attempt to determine which chemotherapy agent caused

her alleged hair loss from 2011 to 2016, when she filed suit. See Dep. Tr. 313:9314:1.

         120.   Ms. Johnson did not discuss whether Taxotere caused or contributed to her

injury with any healthcare provider from 2011 to 2016. See PFS § VI.8.

         121.   Ms. Johnson did not seek a diagnosis for her hair loss between 2011 and 2016.

See PFS § VI.7.

         122.   Ms. Johnson did not seek treatment for her hair loss between 2011 and 2016.

See PFS § VI.6; Dep. Tr. 313:1313:21.

         123.   Ms. Johnson has never discussed her hair loss with any healthcare provider.

See PFS § VII.5.

         124.   Ms. Johnson has never undergone a biopsy, blood test, or hormone testing to

evaluate her hair loss or its cause. See PFS § VII.6, “Hair Loss History.”

         125.   From 2005 to 2014, medical literature and media reports alleging a causal link

between Taxotere and persisting hair loss were publicly available. See AMC at ¶¶ 148–161,

179–186.

                                              13
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 14 of 15




       126.     When she filed suit on October 14, 2016, Ms. Johnson did not have a belief

as to which chemotherapy agent had caused her hair loss. See Dep. Tr. 314:9314:15.

       127.     Ms. Johnson filed her lawsuit in 2016 with the same knowledge regarding her

injury and its alleged cause that she had in 2011. See SFC at ¶ 10; Dep. Tr. 307:13309:11;

313:9314:15.

       128.     When she testified at deposition on November 30, 2017, Ms. Johnson did not

know which chemotherapy agent had caused her hair loss. See Dep. Tr. 314:9314:15.

       129.     Ms. Johnson testified that from 2011 to 2017, she continuously believed that

chemotherapy had caused her hair loss. See Dep. Tr. 314:5314:8.

       130.     Today, she could not say that she would not take Taxotere again, despite the

risk of permanent hair loss. See Dep. Tr. 314:16315:5.

Respectfully submitted,

       /s/ Douglas J. Moore                               Harley Ratliff
       Douglas J. Moore (Bar No.                          Adrienne L. Byard
       27706)                                             SHOOK, HARDY& BACON L.L.P.
       IRWIN FRITCHIE URQUHART &                          2555 Grand Boulevard
       MOORE LLC                                          Kansas City, Missouri 64108
       400 Poydras Street, Suite 2700                     Telephone: 816-474-6550
       New Orleans, LA 70130                              Facsimile: 816-421-5547
       Telephone: 504-310-2100                            hratliff@shb.com
       Facsimile: 504-310-2120                            abyard@shb.com
       dmoore@irwinllc.com
                                                          Counsel for sanofi-aventis U.S.
                                                          LLC




                                             14
  Case 2:16-md-02740-JTM-MBN Document 5734-1 Filed 01/07/19 Page 15 of 15




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2019, I electronically filed the foregoing with the Clerk

of the Court using the ECF system which sent notification of such filing to all counsel of record.

                                                             /s/ Douglas J. Moore




                                                15
